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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


CLAUDE GREINER,

      Plaintiff,                             Case No. 2:19-cv-12479
                                             District Judge Nancy G. Edmunds
v.                                           Magistrate Judge Kimberly G. Altman

CADILLAC ACCOUNTS RECEIVABLE
MANAGEMENT, INC.,

      Defendant.

_________________________________/


REPORT AND RECOMMENDATION ON DEFENDANT’S MOTION FOR
             SUMMARY JUDGMENT (ECF No. 20)

                                  I. Introduction

      This is a case under the Telephone Consumer Protection Act (TCPA), 47

U.S.C. § 227 et seq, and the Fair Debt Collection Practices Act (FDCPA), 15

U.S.C. § 1692 et seq, involving text messages sent by defendant Cadillac Accounts

Receivable Management, Inc., (CARM) to plaintiff Claude Greiner. Under 28

U.S.C. § 636(b)(1), all pretrial matters were referred to the undersigned. (ECF No.

24). Before the Court is CARM’s motion for summary judgment. (ECF No. 20).

For the reasons which follow, the undersigned recommends that CARM’s motion

be GRANTED IN PART AND DENIED IN PART.

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                                    II. Background

         This suit was initially brought as a small claims action in state court. CARM

removed the case to federal court based on the federal questions at issue. See ECF

No. 1.

         Greiner alleges that he received four text messages from CARM, sent to his

personal cellular phone, that were sent by an automatic telephone dialing system

(ATDS) in violation of the TCPA. (ECF No. 15, PageID.56-57). Later, Greiner

replied to one of these messages by texting the word PAYMENT, resulting in his

receipt of a fifth automated message. (Id. at PageID.57). At one point, Greiner’s

father saw one of the text messages in question, putting CARM in violation of the

FDCPA according to Greiner. (Id.).

         CARM now moves for summary judgment on both of Greiner’s claims.

CARM argues that the first four text messages were sent manually, not by an

ATDS, and therefore in compliance with the TCPA, and that the fifth text message

was sent in response to Greiner’s inquiry, meeting the consent exception to the

TCPA. Further, CARM argues that it cannot be held liable under the FDCPA for

Greiner’s father happening to see a text message regarding Greiner’s debt that was

visible on Greiner’s phone. For the reasons which follow, the undersigned

recommends that CARM’s motion for summary judgment be denied as to the first

four text messages, and granted as to the fifth text message and the FDCPA claim.

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                               III. Summary Judgment

      Under Federal Rule of Civil Procedure 56, “[t]he court shall grant summary

judgment if the movant shows that there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). A fact is material if it might affect the outcome of the case under governing

law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The Court

“views the evidence, all facts, and any inferences that may be drawn from the facts

in the light most favorable to the nonmoving party.” Pure Tech Sys., Inc. v. Mt.

Hawley Ins. Co., 95 F. App’x 132, 135 (6th Cir. 2004).

      “The moving party has the initial burden of proving that no genuine issue of

material fact exists....” Stansberry v. Air Wis. Airlines Corp., 651 F.3d 482, 486

(6th Cir. 2011) (internal quotations omitted); cf. Fed. R. Civ. P. 56(e)(2) (providing

that if a party “fails to properly address another party’s assertion of fact,” the court

may “consider the fact undisputed for purposes of the motion”). If a moving party

fails to meet this initial burden, the non-moving party has no duty to present

countervailing evidence; indeed, a court abuses its discretion if it grants a summary

judgment motion where the moving party has not met its burden. Hunter v.

Caliber System, Inc., 220 F.3d 702, 726 (6th Cir. 2000). “Once the moving party

satisfies its burden, ‘the burden shifts to the nonmoving party to set forth specific

facts showing a triable issue.’ ” Wrench LLC v. Taco Bell Corp., 256 F.3d 446,

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453 (6th Cir. 2001) (citing Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.,

475 U.S. 574, 587 (1986)).

      The nonmoving party “must make an affirmative showing with proper

evidence in order to defeat the motion.” Alexander v. CareSource, 576 F.3d 551,

558 (6th Cir. 2009); see also Lee v. Metro. Gov't of Nashville & Davidson Cty.,

432 F. App’x 435, 441 (6th Cir. 2011) (“The nonmovant must ... do more than

simply show that there is some metaphysical doubt as to the material facts[.] ...

[T]here must be evidence upon which a reasonable jury could return a verdict in

favor of the non-moving party to create a genuine dispute.”) (internal quotation

marks and citations omitted). “Such evidence submitted in opposition to a motion

for summary judgment must be admissible.” Alexander, 576 F.3d at 558 (internal

quotation marks and citations omitted). In other words, summary judgment is

appropriate when the motion “is properly made and supported and the nonmoving

party fails to respond with a showing sufficient to establish an essential element of

its case[.] ...” Stansberry, 651 F.3d at 486 (citing Celotex Corp. v. Catrett, 477

U.S. 317, 322-23 (1986)).

      The fact that Greiner is pro se does not reduce his obligations under Rule 56.

Rather, “liberal treatment of pro se pleadings does not require lenient treatment of

substantive law.” Durante v. Fairlane Town Ctr., 201 F. App’x 338, 344 (6th Cir.

2006). In addition, “[o]nce a case has progressed to the summary judgment stage,

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... ‘the liberal pleading standards under Swierkiewicz [v. Sorema, N.A., 534 U.S.

506, 512-13 (2002)] and [the Federal Rules] are inapplicable.’ ” Tucker v. Union

of Needletrades, Indus., & Textile Employees, 407 F.3d 784, 788 (6th Cir. 2005)

(quoting Gilmour v. Gates, McDonald & Co., 382 F.3d 1312, 1315 (11th Cir.

2004)). The Sixth Circuit has made clear that, when opposing summary judgment,

a party cannot rely on allegations or denials in unsworn filings and that a party’s

“status as a pro se litigant does not alter [this] duty on a summary judgment

motion.” Viergutz v. Lucent Techs., Inc., 375 F. App’x 482, 485 (6th Cir. 2010);

see also United States v. Brown, 7 F. App’x 353, 354 (6th Cir. 2001) (affirming

grant of summary judgment against a pro se plaintiff because he “failed to present

any evidence to defeat the government's motion”).

                                     IV. Analysis

                                      A. TCPA

                                      1. General

      The TCPA prohibits the making of “any call (other than a call made for

emergency purposes or made with the prior express consent of the called party)

using any automatic telephone dialing system [(ATDS)] or an artificial or

prerecorded voice—(iii) to any number assigned to a ... cellular telephone service

... or any service for which the called party is charged for the call....” 47 U.S.C. §

227(b)(1)(A)(iii). An ATDS is “equipment which has the capacity—(A) to store or

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produce telephone numbers to be called, using a random or sequential number

generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1). Text messages

are considered “calls” for purposes of the TCPA. Keating v. Peterson's Nelnet,

LLC, 615 F. App'x 365, 371 (6th Cir. 2015).

      The circuit courts are currently divided as to the interpretation of this

definition. The Sixth Circuit, along with the Second and Ninth, interprets 47

U.S.C. § 227(a)(1)(A) as defining an ATDS as equipment with the capacity “to

store [telephone numbers to be called]; or produce telephone numbers to be called,

using a random or sequential number generator.” Allan v. Pa. Higher Educ.

Assistance Agency, 986 F.3d 567, 573 (6th Cir. 2020). Though this reading

arguably violates the last antecedent rule, competing interpretations require a

strained reading of the word “store,” while also rendering it superfluous within the

definition. Id. at 572-73. Relying on guidance from the Supreme Court, the Allan

court found that giving meaning to each word of the statute took precedence over a

rigid application of a grammatical rule. Id. (citing Paroline v. United States, 572

U.S. 434 (2014)). This means that under the Sixth Circuit’s interpretation of the

TCPA, a system used for debt collection, such as CARM’s, can be considered an

ATDS if it dials from a list of stored numbers. 1


1
  The Seventh and Eleventh Circuits have interpreted 47 U.S.C. § 227(a)(1)(A) to
mean that “using a random or sequential number generator” applies to both the
storage and the production of telephone numbers. See Allan, 968 F.3d at 571. The
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                                       2. Application

      Here, the issue is whether the four text messages sent by CARM to Greiner

in 2018 were sent by an ATDS, and whether the fifth message sent in January

2019 2 was consented to by Greiner.

      Records submitted with CARM’s motion for summary judgment indicate

that Greiner was sent four unsolicited text messages in late 2018, two from

Danielle Simonton and two from Audrey Morgan (née Lambert), employees of

CARM. (ECF No. 20-2, PageID.92-94). Other than the name of the sender, the

text messages are identical:

      Hi this is [Danielle/Audrey] from Cadillac Accounts Receivable, please
      text or call me at [phone number]. This is an attempt to collect a debt
      by a debt collector; any info will be used for that purpose. Text "Stop"
      to opt out of SMS or "Payment" to pay online.
      Group message sent by [sender] [time and date]

The records indicate that each message was a “group message,” and each contained

no individualized information regarding the recipient or the alleged debt. The



Supreme Court has recently granted a petition for writ of certiorari on this issue
in Facebook, Inc. v. Duguid, No. 19-511, 2020 WL 3865252 (Jul. 9, 2020). See
Pittenger v. First Nat'l Bank of Omaha, No. 20-CV-10606, 2020 WL 5596162, at
*1 (E.D. Mich. Sept. 18, 2020) (denying defendant’s motion to stay proceedings).
Until that matter is decided, this court is bound by the Sixth Circuit’s interpretation
of the TCPA in Allan.
2
 There is disagreement between Greiner and CARM regarding when this message
was sent, but CARM’s records indicate it was sent in January 2019. (ECF No. 20-
2, PageID.94).
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records also indicate that a web application called “Zipwhip” was used in the

sending of the messages. (Id.).

      As evidence to show that there is no genuine issue of material fact that

Greiner cannot prevail on his TCPA claim regarding the text messages, CARM

relies on affidavits from Simonton and Morgan in which they state that they sent

the text messages to Greiner “manually” and not “by an automatic telephone

dialing system.” (ECF Nos. 20-3, 20-4). In addition, CARM offers an affidavit

from Jon Dracht, its president and CEO, also stating that that Simonton and

Morgan sent the text messages in question and that the messages were sent

“manually,” not by an ATDS. (ECF No. 20-5). None of the three affidavits

mentions the Zipwhip software that Greiner argues constitutes an ATDS in his

response. (ECF No. 22, PageID.109). In its reply, CARM does not deny the use

of Zipwhip in sending the messages but argues that Greiner has failed to submit

probative evidence that Zipwhip is an ATDS in support of his claim. (ECF No. 23,

PageID.135-37).

      CARM is correct: Greiner has not provided sufficient evidence that Zipwhip

is an ATDS in his response or affidavit. But the initial burden is not on Greiner to

support this claim. That burden lies on the movant, CARM, to affirmatively

establish that there is no genuine issue of material fact that the text messages were

not made by an ATDS. Hunter, 220 F.3d at 725 (district court overturned where it

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erroneously “accepted [the moving party’s] statement as an undisputed fact

because [nonmovants] failed to produce any evidence to rebut [movant’s]

statement.”). “If a moving party fails to carry its initial burden of production, the

non-moving party has no obligation to produce anything, even if the nonmoving

party would have the ultimate burden of persuasion.” Id. (quoting Nissan Fire &

Marine Ins. Co. v. Fritz Cos., 210 F.3d 1099, 1102–03 (9th Cir. 2000)).

      CARM is limited to using admissible evidence to support its claim.

Aquilina v. Wriggelsworth, 759 F. App’x 340, 342 (6th Cir. 2018), citing Fed. R.

Civ. P. 56(c)(2). Federal Rule of Evidence 701 governs the opinion testimony of a

lay witness not testifying as an expert:

      [I]f the witness is not testifying as an expert, the witness' testimony in
      the form of opinions or inferences is limited to those opinions or
      inferences which are (a) rationally based on the perception of the
      witness, (b) helpful to a clear understanding of the witness' testimony
      or the determination of a fact in issue, and (c) not based on scientific,
      technical, or other specialized knowledge within the scope of Rule 702.

United States v. White, 492 F.3d 380, 400 (6th Cir. 2007). Legal conclusions,

whether asserted in an affidavit or verified complaint, do not suffice to create a

genuine issue of material fact for trial. See Medison Am. Inc. v. Preferred Med.

Sys., LLC, 357 F. App’x 656, 662 (6th Cir. 2009); see also Stine v. State Farm Fire

& Cas. Co., 428 F. App’x 549, 550 (6th Cir. 2011) (A “conclusory affidavit

bypasses the specific-facts requirement of Federal Rule of Civil Procedure

56 necessary to forestalling summary judgment.”).
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       CARM relies solely on the three affidavits it submitted to support the claim

 that the text messages in question were made manually and not by an ATDS. But

 the assertion by each of these lay witnesses that the messages were not sent by an

 ATDS is an impermissible legal conclusion, insofar as it is submitted to prove that

 the text message software does not meet the legal definition of an ATDS. These

 bare assertions, without more, do not allow the Court to make a finding as to

 whether an ATDS was actually used in placing the text messages at issue.

 Similarly, the statement that these messages were sent “manually” is wholly

 conclusory. The process by which Zipwhip was used by CARM to institute these

 text messages, which appear to have been sent to a group of individuals at one

 time, was not mentioned in the affidavits, leaving the Court with no insight as to

 the program’s functionality.

       Indeed, the evidence furnished by CARM is far different from evidence the

 parties in in similar TCPA cases furnished in seeking summary judgment. First, in

 Allan, supra, plaintiffs sued an agency that was using an autodialer system to place

 collection-related calls selected from a stored list of numbers. 968 F.3d at 570.

 Plaintiffs moved for summary judgment, providing evidence that they were called

 on 353 occasions without consent and were left at least thirty automated voice

 messages in connection with these calls. Id. Defendant responded with affidavit




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 testimony from its Senior Manager of Workflow and Operational Support

 explaining how its calling system worked:

       [Defendant]’s system uses a calling list that is created daily by an
       automated batch process that determines what subset of accountholders
       qualifies for telephonic contact that day, based on, among other things,
       amounts owed, delinquency status and prior contacts. The calling list
       is not randomly generated. Each morning a new and unique calling list
       is downloaded to the Avaya equipment used in connection with making
       the calls to the accountholders who will be called based on the selection
       criteria outlined above. A human intervenes at that point to create
       calling campaigns for the day. Jobs are started by the person setting up
       the daily workflow. The dialing system places the calls and connects
       them to operators when a voice is detected.

 Allan v. Pennsylvania Higher Educ. Assistance Agency, 398 F. Supp. 3d 240, 242

 (W.D. Mich. 2019), aff'd, 968 F.3d 567 (6th Cir. 2020). Plaintiffs offered no

 evidence as to defendant’s dialing system. Nevertheless, the district court found

 that there was “no question” that defendant’s system stored telephone numbers and

 automatically dialed them, qualifying the system as an ATDS. Id. at 244.

 Plaintiffs were granted summary judgment despite defendant’s evidence of human

 intervention in the form of a “live person” that “created the calling campaigns for

 the day,” and the Sixth Circuit affirmed. Allan, 968 F.3d at 570. Here, CARM

 has not sufficiently distinguished the Zipwhip system from the system in Allan so

 as to be entitled to summary judgment.

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       Similarly, in Lopez v. Quicken Loans, Inc., No. 19-13340, 2020 WL

 2525938 (E.D. Mich. May 18, 2020), the court found that allegations of text

 messages “comprised of pre-written templates of impersonal text, … devoid of any

 actual human intervention in the drafting or sending of the messages … and …

 sent en masse to thousands of other consumers” made it plausible that an ATDS

 was used. Lopez at *6 (quoting Virgne v. C.R. England, Inc., 2020 WL 470294, at

 *3 (S.D. Ind. Jan. 28, 2020)). The Lopez decision was based on a motion to

 dismiss, not one for summary judgment, but it illuminates the type of evidence

 required to show that a party is not using an ATDS without consent.

       Finally, in Gary v. TrueBlue, Inc., 346 F. Supp. 3d 1040 (E.D. Mich. 2018),

 aff’d, 786 F. App’x 555 (6th Cir. 2019), defendants were granted summary

 judgment due to a lack of evidence showing that the program used to place text

 messages was an ATDS. Similar to this case, the plaintiff offered evidence in the

 form of Internet research to support his claim that the program at issue was an

 ATDS. Defendants successfully argued that the evidence was insufficient, and that

 plaintiff could have conducted discovery to better support his claim but had failed

 to do so. Id., at 1045. But Gary is distinguishable, because there, defendants

 “offered sworn testimony that its WorkAlert service ‘lack[ed] the capability to




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 randomly or sequentially dial or text potential workers.’ ” 3 Gary v. TrueBlue, Inc.,

 786 F. App’x 555, 556 (6th Cir. 2019), citing Gary, 346 F. Supp. 3d at 1044.

 Furthermore, defendants provided evidence that their service required “multiple

 steps of human intervention to send a job notification text. . . . Even when using a

 fixed group, branch employees must manually edit the list of workers to fit a

 particular job assignment, craft an outgoing text message, and then click certain

 keys to send a message.” Gary v. TrueBlue, Inc., No. 17-CV-10544, 2018 WL

 3647046, at *7 (E.D. Mich. Aug. 1, 2018) (denying plaintiff’s motion for summary

 judgment in the same matter). The court found that “[t]his level of human

 judgment and intervention precludes a system from falling under the definition of

 an ATDS.” Id. Thus, defendants in Gary, unlike CARM, met their burden to

 provide admissible evidence that their service did not use an ATDS.

       As discussed above, the record shows that shows that generic, impersonal

 text messages were sent to some unspecified number of people, and though sent

 “manually,” the nature and level of human interaction involved in the sending is

 unknown. Based on the evidence, viewed in the light most favorable to Greiner, a

 reasonable jury could find that these generic and impersonal messages were sent to

 groups of people with minimal human intervention, in violation of the TCPA. As



 3
   Gary was decided before the Sixth Circuit’s decision in Allan, which clarified
 that random or sequential dialing is not required to show that an ATDS was used.
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 such, CARM has not met its summary judgment burden of establishing that there is

 no genuine issue of material fact as to whether an ATDS was used. It is therefore

 recommended that summary judgment be denied as to the first four text messages

 sent to Greiner.

       However, the automated text message sent to Greiner in January 2019 in

 reply to his text of the word PAYMENT to CARM is something different. This

 message falls under the consent provision of 47 U.S.C. § 227(b)(1)(A), which

 states that it is unlawful “to make any call (other than a call made for emergency

 purposes or made with the prior express consent of the called party) using any

 automatic telephone dialing system” [emphasis added]. By texting the word

 PAYMENT in response to CARM’s initial message, Greiner consented to receipt

 of a reply from CARM. Indeed, “[p]laintiffs would have a tough go of showing

 that they did not consent to receiving a message after they themselves initiated

 contact.” Allan, at 579. The same is true here. As such, it is recommended that

 summary judgment be granted to CARM as to this text message.

                                    B. FDCPA Claim

                                       1. General

       “The FDCPA prohibits a wide array of specific conduct, but it also prohibits,

 in general terms, any harassing, unfair, or deceptive debt collection practice, which

 enables the courts, where appropriate, to proscribe other improper conduct which is

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 not specifically addressed.” Currier v. First Resolution Inv. Corp., 762 F.3d 529,

 533 (6th Cir. 2014). To determine whether conduct fits within the broad scope of

 the FDCPA, the conduct is viewed through the eyes of the “least sophisticated

 consumer.” Barany–Snyder v. Weiner, 539 F.3d 327, 333 (6th Cir. 2008). This

 standard recognizes that the FDCPA protects the gullible and the shrewd alike

 while simultaneously presuming a basic level of reasonableness and understanding

 on the part of the debtor, thus preventing liability for bizarre or idiosyncratic

 interpretations of debt collection notices. Id.

                                       2. Application

          CARM is correct that Greiner fails to identify a provision of the FDCPA that

 would hold CARM liable for Greiner’s father seeing the collection-related text

 message on Greiner’s phone. Furthermore, Greiner failed to address this issue in

 his response brief, which “constitutes waiver or abandonment of the argument.”

 Beydoun v. Countrywide Home Loans, Inc., No. 09-10445, 2009 WL 1803198, at

 *3 (E.D. Mich. June 23, 2009) (internal quotation marks and citations omitted). IT

 is therefore recommended that summary judgment be granted on Greiner’s FDCPA

 claim.

                                       V. Conclusion




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       Accordingly, for the reasons stated above, the undersigned recommends that

 CARM’s motion for summary judgment (ECF No. 20) be GRANTED IN PART

 AND DENIED IN PART, in accordance with this opinion.



 Dated: November 9, 2020                               s/Kimberly G. Altman
 Detroit, Michigan                                     KIMBERLY G. ALTMAN
                                                       United States Magistrate Judge


              NOTICE TO PARTIES REGARDING OBJECTIONS

       The parties to this action may object to and seek review of this Report and

 Recommendation. Any objections must be filed within 14 days of service, as

 provided for in Federal Rule of Civil Procedure 72(b)(2) and Local Rule 72.1(d).

 Failure to file specific objections constitutes a waiver of any further right of

 appeal. Thomas v. Arn, 474 U.S. 140, 144 (1985); Howard v. Sec’y of Health &

 Human Servs., 932 F.2d 505, 508 (6th Cir. 1991). Filing objections that raise some

 issues but fail to raise others with specificity will not preserve all the objections a

 party might have to this Report and Recommendation. Willis v. Sec’y of Health &

 Human Servs., 931 F.2d 390, 401 (6th Cir. 1991); Smith v. Detroit Fed’n of

 Teachers, Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987). Under Local Rule

 72.1(d)(2), any objections must be served on this Magistrate Judge.

       Any objections must be labeled as “Objection No. 1,” and “Objection No.

 2,” etc. Any objection must recite precisely the provision of this Report and
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 Recommendation to which it pertains. Not later than 14 days after service of an

 objection, the opposing party may file a concise response proportionate to the

 objections in length and complexity. Fed. R. Civ. P. 72(b)(2); E.D. Mich. LR

 72.1(d). The response must specifically address each issue raised in the objections,

 in the same order, and labeled as “Response to Objection No. 1,” “Response to

 Objection No. 2,” etc. If the Court determines that any objections are without

 merit, it may rule without awaiting the response.



                          CERTIFICATE OF SERVICE


        The undersigned certifies that the foregoing document was served upon
 counsel of record and any unrepresented parties via the Court’s ECF System to
 their respective email or First Class U.S. mail addresses disclosed on the Notice of
 Electronic Filing on November 9, 2020.


                                               s/Marie E. Verlinde
                                               MARIE E. VERLINDE
                                               Case Manager




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